                                                               United States Bankruptcy Court
                                                                             District of Arizona
            SEAN H CANNOLES
 In re      VICTORIA L CANNOLES                                                                                   Case No.   2:18-bk-15054
                                                                                       Debtor(s)                  Chapter    7



                              Declaration of Evidence of Employers' Payments Within 60 Days

                       Attached hereto are copies of all payment advices, pay stubs or other evidence of payment received by
                        the debtor from any employer within 60 days prior to the filing of the petition;

                       Debtor has received no payment advices, pay stubs or other evidence of payment from any employer
                        within 60 days prior to the filing of the petition; or

                       Debtor has received the following payments from employers within 60 days prior to the filing of the
                        petition:  $7,082    .

            Debtor,        SEAN H CANNOLES                  , declares the foregoing to be true and correct under penalty of perjury.



                       Attached hereto are copies of all payment advices, pay stubs or other evidence of payment received by
                        the debtor from any employer within 60 days prior to the filing of the petition;

                       Debtor has received no payment advices, pay stubs or other evidence of payment from any employer
                        within 60 days prior to the filing of the petition; or

                       Debtor has received the following payments from employers within 60 days prior to the filing of the
                        petition:     .

            Debtor,        VICTORIA L CANNOLES                       , declares the foregoing to be true and correct under penalty of perjury.


 Date December 12, 2018                                                    Signature   /s/ SEAN H CANNOLES
                                                                                       SEAN H CANNOLES
                                                                                       Debtor


 Date December 12, 2018                                                    Signature   /s/ VICTORIA L CANNOLES
                                                                                       VICTORIA L CANNOLES
                                                                                       Joint Debtor

If attaching pay stubs or other payment advices, it is your responsibility to redact (black out) any social security numbers,
names of minor children, dates of birth or financial account numbers before attaching them to this document.




Local Form 1007-2 (08/18)                                                         Declaration of Evidence of Payments                             Page 1

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